Case 5:23-cv-00580-FB Document 343 Filed 06/28/24 Page 1of1

CAUSE NO. 5:23-cv-00580-FB

JULIA HUBBARD and KAYLA GOEDINGHAUS § UNITED STATES DISTRICT COURT
§ FOR THE WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION
Plaintiff,
vs.

TRAMMELL S. CROW, JR., et al.
Defendant.

Mmmm mM Mm

AFFIDAVIT OF SERVICE

"The following came to hand on Jun 19, 2024, 3:31 pm,

SUMMONS
292 - 2D AMENDED COMPLAINT

| received 2 summons Intended for delivery to MRUGESHKUMAR SHAH, M.D.
1 at 809 Clack Drive, GARLAND, TX 75044 and the other at 10400 North Central Expressway Ste. A DALLAS, TX 75231

and they were both executed at 809 Clack Drive, GARLAND, TX 75044 within the county of DALLAS

on Thu, Jun 20 2024, by delivering both true copies to the within named MRUGESHKUMAR SHAH, M.D. in person, having
first endorsed the date and time of delivery on each. MRUGESHKUMAR SHAH, M.D. confirmed his Identity by saying yes
when asked if he was the person named and also confirming that he is the same MRUGESHKUMAR SHAH, M.D. that has
an office located at 10400 North Central Expressway Ste. A DALLAS, TX 75231

Additional details:

Documents addressed to the 809 Clack Ln address were delivered at 12:24 PM once completed | realized that | had
another set of documents for the same individual to be delivered to him at 10400 North Central Expressway Ste. A
DALLAS, TX 75231 | went back to the door confirmed he was the same MRUGESHKUMAR SHAH, M.D. and delivered the
2nd set at 12:39 pm CDT also at 809 Clack Drive, GARLAND, TX 75044 as he was present there at the time.

| am a person over eighteen (18) years of age and | am competent to make this affidavit. | am a resident of the State of
Texas. | am a Texas JBCC Certified Process Server and | am familiar with the Texas Rules of Civil Procedure as they apply
to service of Process. | am not a party to this suit nor related or affiliated with any herein, and have no interest in the
outcome of the suit. | have never been convicted of a felony or of a misdemeanor involving moral turpitude. | have
personal knowledge of the facts stated herein and they are true and correct."

My name is Donna LiAne Gardner, my date of birth is 05/10/1967, and my mailing address is PO Box 2111, Cedar Park ,
TX 78630, and United States of America. | declare under penalty of perjury that the foregoing is true and correct.

Donna LiAne Gardner

Certification Number: PSC-17222
Certification Expiration: 08/31/2025

Fee: $550.00 (Same Day Rush x2 $275ea.)

Executed in BEXAR County, State of TEXAS, on June 22, 2024.

